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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLORADO

    Civil Action No. 15-cv-2507-JLK

    KYLE JEFFERY SCHWARK,

                Plaintiff,
    v.

    DOCTOR KATHERINE FITTING, in her individual capacity; and
    CAPTAIN DANIEL MULDOON, in his individual capacity,

                Defendants.


         MINUTE ORDER SETTING JURY TRIAL AND PRETRIAL CONFERENCE

Judge John L. Kane ORDERS

       A Pretrial Conference in this matter is set for Tuesday, June 18th, 2019, at 10:30 a.m.
in Courtroom A802, on the 8th Floor of the Alfred A. Arraj U.S. Courthouse, 901 19th Street.
Pursuant to my standing order regarding pretrial and trial procedures, see Memorandum to
Counsel from Senior Judge John L. Kane Re: Pretrial and Trial Procedures, 1 the parties are
required to jointly prepare and submit in editable format a proposed Pretrial Order. Note that I
also require the proposed Pretrial Order to be filed in .pdf form through the normal CM/ECF
process.

        In addition, my pretrial procedures will require you to submit proposed jury instructions
no later than 30 days after the Pretrial Conference. Instructions on the process and format for
submitting proposed jury instructions are included in the above-referenced Memorandum.

         A five-day jury trial is set for Monday, October 7th, 2019, at 9:00 a.m. before Judge
Kane.
___________________________________________________________________________
Dated: April 4, 2019




1  Available on the Court=s website:
http://www.cod.uscourts.gov/JudicialOfficers/SeniorArticleIIIJudges/HonJohnLKane.aspx
